     Case: 1:04-cr-00531 Document #: 447 Filed: 12/23/22 Page 1 of 4 PageID #:2677




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION




UNITED STATES OF AMERICA
                                                            Case No. 04CR-531-1

v.

                                                            ORDER ON SECOND MOTION
SIDNEY UPCHURCH                                             FOR SENTENCE REDUCTION
                                                            UNDER 18 U.S.C. § 3582(c)(1)(A)

                                                            (COMPASSIONATE RELEASE)




       Upon motion of the X defendant, or         the Director of the Bureau of Prisons, for a
reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable
standards and the factors provided in 18 U.S.C. § 3553(a) and the applicable policy statements
issued by the Sentencing Commission,


     IT IS ORDERED that the Defendant’s second motion for compassionate release is:

        GRANTED

                 The defendant’s previously imposed sentence of imprisonment of             is
            reduced to ______________. If this sentence is less than the amount of time the
            defendant already served, the sentence is reduced to a time served sentence as set
            forth below. If the defendant’s sentence is reduced to time served, then defendant
            must provide the complete address where the defendant will reside upon release
            to the probation office in the district where the defendant will be released, and
            further:

                (1) This order is stayed for up to fourteen days for the verification of the
            defendant’s residence and/or establishment of a release plan, to make appropriate
            travel arrangements, and to ensure the defendant’s safe release. The defendant
            shall be released as soon as a residence is verified, a release plan is established,
            appropriate travel arrangements are made, and it is safe for the defendant to
            travel. There shall be no unreasonable delay in ensuring travel arrangements are
            made. If more than fourteen days are needed to make appropriate travel




       AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A) modified
    Case: 1:04-cr-00531 Document #: 447 Filed: 12/23/22 Page 2 of 4 PageID #:2678




            arrangements and to ensure the defendant’s safe release, the parties shall
            immediately notify the Court and show cause why the stay should be extended; or

                 (2) If there is a verified residence and an appropriate release plan in place,
            this order is stayed for up to fourteen days to make appropriate travel
            arrangements and to ensure the defendant’s safe release. The defendant shall be
            released as soon as appropriate travel arrangements are made, and it is safe for
            the defendant to travel. There shall be no unreasonable delay in ensuring travel
            arrangements are made. If more than fourteen days are needed to make
            appropriate travel arrangements and ensure the defendant’s safe release, then
            the parties shall immediately notify the Court and show cause why the stay
            should be extended.

                Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special
            term” of ___ probation or ___ supervised release of   months (not to exceed the
            unserved portion of the original term of imprisonment).

                       The defendant’s previously imposed conditions of supervised release
                       apply to the “special term” of supervision; or

                      The conditions of the “special term” of supervision are as follows:
                  _____________________________________________________________________
                  _____________________________________________________________________
                  _____________________________________________________________________

                The defendant’s previously imposed conditions of supervised release are
            unchanged.

                 The defendant’s previously imposed conditions of supervised release are
            modified as follows:
            ___________________________________________________________________________
            ___________________________________________________________________________
            ___________________________________________________________________________



       DEFERRED pending supplemental briefing and/or a hearing. The Court directs the
       United States Attorney’s Office to file a response on or before      along with all
       Bureau of Prisons records (medical, institutional, administrative) relevant to this
       motion, filed under seal as necessary.



X      DENIED after complete review of the motion on the merits.


        X      FACTORS CONSIDERED (Optional)




      AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A) modified
Case: 1:04-cr-00531 Document #: 447 Filed: 12/23/22 Page 3 of 4 PageID #:2679




           As to the Defendant’s second motion for compassionate release [438], the
           Government contends that the Defendant has failed to offer proof establishing
           that he has exhausted administrative remedies (see [443] at 5-10), and
           Defendant contends otherwise. Nevertheless, this Court notes that, even if
           exhaustion occurred, the Defendant’s motion still fails on the merits, and is
           therefore denied, because the record does not warrant any reduction in
           sentence under 18 U.S.C. § 3582(c)(1)(A), after full consideration of the factors
           provided in 18 U.S.C. § 3553 and the applicable policy statements issued by the
           Sentencing Commission.


           As part of its second review of the merits, this Court has considered all of the
           Defendant’s arguments, including the Defendant’s medical conditions, the
           deteriorated health of his father, Defendant’s positive prison record (including
           work and mentorship of other inmates), as well as his family support,
           prospective employment and the various letters Defendant has filed in support
           of his second motion. Individually or in combination, however, these factors
           fail to warrant defendant’s request for a reduction in his sentence. To the
           contrary, the record confirms that the defendant still fails to meet the criteria
           of U.S.S.G. § 1B1.13(2), because he remains a high risk of recidivism and a
           significant danger to the safety of other persons and the community, and that
           a sentence reduction otherwise remains inconsistent with the need under 18
           U.S.C. § 3553 for the sentence to reflect the seriousness of, and to provide just
           punishment for, defendant’s offenses.


           For example, in considering the nature and circumstances of the offense and
           the history and characteristics of the Defendant, the record overwhelming
           supports his continued incarceration. As correctly noted by the government,
           between approximately November 2002 and October 2003, the Defendant
           conspired with others to execute a string of armed robberies in Chicago, Hazel
           Crest, Oak Forest, Richton Park, Matteson, Riverdale, and Midlothian, Illinois.
           The targets of the robberies included credit unions, currency exchanges,
           grocery stores, and other commercial establishments. As part of the conspiracy,
           the Defendant obtained intelligence on targeted establishments, their
           employees, and the employees’ family members before committing robberies.
           Indeed, the Defendant selected targets and created the plan for various
           robberies, and during certain robberies, co-conspirators brandished firearms
           and pointed firearms at, and bound and threatened, employees of the targeted
           businesses. Moreover, at the time of his sentencing in this case, the Defendant
           already had three prior felony convictions: (1) burglary in 1988 (sentenced to 5
           years’ imprisonment); (2) manufacture and delivery of a controlled substance
           in 1991 (sentenced to 17 years’ imprisonment); and (3) burglary in 1991
           (sentenced to 3 years’ imprisonment). Once again, the record as a whole does
           not warrant the Defendant’s release.



   DENIED WITHOUT PREJUDICE because the defendant has not exhausted all




  AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A) modified
Case: 1:04-cr-00531 Document #: 447 Filed: 12/23/22 Page 4 of 4 PageID #:2680




   administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days
   lapsed since receipt of the defendant’s request by the warden of the defendant’s
   facility.


   IT IS SO ORDERED.


   Dated: December 23, 2022


                                                    Entered:


                                                    ____________________________
                                                    John Robert Blakey
                                                    United States District Judge




  AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A) modified
